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                            In The United States District Court
                           FOR THE DISTRICT OF COLORADO


  Criminal Action No. 18-cr-00381

  United States of America,

         Plaintiff,

         v.

  BRUCE HOLDER,
      Defendant.


                      MOTION TO SUPPRESS EVIDENCE FROM SEARCH


         The Defendant, Bruce Holder, through his counsel of record, Marna M. Lake, moves

  this Court to enter an order suppressing from evidence at trial all evidence seized during

  a search of his residence at 2442 Gunnison Avenue, Grand Junction, Colorado, on August

  21, 2018, on the grounds that the warrant for this search was obtained in violation of the

  Fourth Amendment to the Constitution of the United States. Further, the warrant was

  executed in a manner which violated Rule 41 of the Federal Rules of Criminal Procedure,

  18 U.S.C. §2234, and Mr. Holder’s Fourth Amendment rights. Mr. Holder also seeks

  suppression of any evidence obtained either directly or indirectly as a result of the search

  and seizure. As grounds, it is stated:

                              BACKGROUND INFORMATION

         On August 17, 2018, government agents obtained a search warrant for the

  residence located at 2442 Gunnison Avenue, Grand Junction, Colorado. It was executed


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  on August 21, 2018. During that search, numerous items were seized, including those

  listed on the inventory which is attached as “Exhibit A.” Some of these items, particularly

  the iPad, supplemented the bases for a search warrant ordered on September 4, 2018,

  for the search of an iPhone which had been seized from Mr. Holder on August 21, 2018.

         The affidavit claims probable cause for violations of 21 U.S.C. §841 (Possession

  with the Intent to Distribute) and 21 U.S.C. §846 (Conspiracy to Distribute a Controlled

  Substance).

                                          ARGUMENT

  I.     THE INFORMATION CONTAINED IN THE APPLICATION FOR SEARCH

         WARRANT WAS STALE AND COULD NOT SUPPORT A FINDING OF

         PROBABLE CAUSE TO SEARCH THE RESIDENCE

                “(P)robable cause to search cannot be based on stale information that no

  longer suggests that the items sought will be found in the place to be searched.” United

  States v. Roach, 582 F.3d 1192, 1200 (10th Cir. 2009), (quoting United States v. Mathis,

  357 F.3d 1200, 12-6-07 (10th Cir. 2004)). “(S)tale information cannot be used in a probable

  cause determination.” United States v. Frechette, 583 F.3d 374, 377 (6th Cir. 2009); see

  also United States v. Harris, 255 F.3d, 288, 299 (6th Cir. 2001) (“Because probable cause

  to search is concerned with facts relating to a presently existing condition, . . . there arises

  the unique problem of whether the probable cause which once existed has grown stale.”

  (quoting United States v. Spikes, 158 F.3d 374 913, 923 (6th Cir. 2001)).




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         Whether evidence is stale is a flexible inquiry that does not “create an arbitrary time

  limitation within which discovered facts must be presented to a magistrate. United States

  v. Green, 250 F.3d, 471, 480 (6th Cir. 2001) (quoting Spikes, 158 F.3d at 923). “A key but

  by no means controlling issue is the length of time between the events listed in the affidavit

  and the application for the warrant.” United States v. Leaster, 35 Fed. Appx. 402, 406 (6th

  Cir. 2002). It is recognized that “(t)he determination of whether information is stale

  depends on the nature of the crime and the length of criminal activity, not simply the

  number of days that have elapsed between the facts relied upon and the issuance of the

  warrant.” United States v. Roach, supra, at 1202 (quoting United States v. Basham, 268

  F.3d 1199, 1206 (10th Cir. 2001). However, firearm and drug trafficking are not the sorts

  of crimes whose evidence is likely to remain stationary for years at a time.” Roach at 1202.

         One of the protected sources (identified by initials in the application for search

  warrant) claimed that he observed Christopher Huggett receive pills from Mr. Holder “on

  an early summer evening in 2017.” Although there are references to this source claiming

  that Mr. Huggett received pills from Mr. Holder on other occasions, the basis of his

  knowledge, including any dates, are not stated in the affidavit.

         Government agents participated in a controlled purchase of pills in July 3, 2018.

  The observations led the agents to believe those pills came from the residence of Lexus

  Holder, Mr. Holder’s daughter. Her residence was 2545 Kennedy Avenue, not 2442

  Gunnison Avenue. Further, although Mr. Holder was observed going into the Kennedy

  Avenue home for a short period of time, this was more than six weeks before the

  application for search warrant was made.

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         Another source of information (identified as SOI in the affidavit) claimed to have

  purchased pills from Mr. Holder in order to sell them to others. However, SOI stated that

  he/she had not done so since April of 2018.

         Government agents seized trash from trash containers located at the Gunnison

  Avenue residence on June 19, 2018. It is alleged that they found a vacuum sealed bag

  that contained fentanyl residue.    However, that was nearly two months before the

  application for search warrant; a subsequent seizure on July 10, 2018, yielded no

  controlled substances.

         The final person in the affidavit claiming to have observed pills in the Gunnison

  residence states that he last did so in early July of 2018. Again, this was more than six

  weeks before the application for search warrant.

         The only information in the affidavit which was recent in nature concerned

  observations by the agent of GPS location information for Mr. Holder’s phone. It is alleged

  that this showed that the phone had traveled from Grand Junction, Colorado, to Flagstaff,

  Arizona and back around August 14, 2018. (The phone is also alleged to have traveled

  from Grand Junction to Anthem, Arizona and back on July 23, 2018.) The affiant claims

  these to be “consistent with drug trafficking activities.” However, this information is

  inconsistent with that received from the government witness referenced in the preceding

  paragraph. This person, who claims first hand knowledge of where Mr. Holder supposedly

  received these pills, claims that the source was in Mexico, not Arizona.




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  II.    THE EXECUTION OF THE SEARCH WARRANT WAS EXCESSIVE AND

         IMPROPER

         a.     RULE 41 VIOLATION

         Rule 41(f)(1)( C) of the Federal Rules of Criminal Procedure requires an officer

  executing a search warrant to provide a copy of the warrant to the individual whose person

  or property is the subject of the warrant. The purpose of the rule is to “assure() the

  individual whose property is searched or seized of the lawful authority of the executing

  officer, his need to search, and the limits of his power to search.” United States v.

  Chadwick, 433 U.S. 1, 9 (1977), abrogated by California v. Acevedo, 500 U.S. 565 (1991);

  United States v. Martinez-Fuerte, 428 U.S. 543, 566 (1976)(explaining that without seeing

  the warrant, the occupant has “no way of knowing the lawful limits of the inspector’s power

  to search, and no way of knowing whether the inspector himself is acting under proper

  authorization.”)

         According to the warrant inventory, Mr. Holder was arrested as he was leaving the

  Gunnison residence. The warrant was executed afterwards. However, a copy of the

  warrant was not given to the remaining person in the residence, Maria Matos (Mr. Holder’s

  wife), until the search was nearly completed. She states that it was thrown on the living

  room table shortly before the agents left the house.

         b.     THE SEARCH EXCEEDED THE SCOPE OF THE WARRANT AND THE

                AUTHORITY OF THE SEIZING AGENTS

         A warrant must state with particularity the place to be searched and the items to be

  seized. If the “scope of the search exceeds that permitted by the terms of a validly issued

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  warrant, . . . (the search and any) subsequent seizure (are) unconstitutional.” Horton v.

  California, 496 U.S. 128, 140 (1990). 18 U.S.C. §2234 prohibits anyone who, while

  executing a search warrant, “willfully exceeds his authority or exercises it with unnecessary

  severity.”

         The search warrant did not provide for the seizure of any vehicles. The only

  reference to vehicles in the warrant was to “concealed and/or aftermarket compartments

  in vehicles present at the Target Location, which may be used to import or transport

  controlled substances.” Ms. Matos states that the agents took the keys to white car and

  drove it around the neighborhood. They also took the keys to and drove her motorcycle;

  she later noticed a chip in the paint. In addition to the items listed on the inventory, she

  states that the agents seized titles to two vehicles (which did not include Mr. Holder’s

  name) and $5,000 in cash which was accompanied by a bill of sale indicating it came from

  the sale of a third vehicle.

       Further, the agents who executed the warrant broke other personal items in the

  residence, including a television, two cameras, and her arts and crafts materials. A

  computer was thrown against a wall. Basically, the house was “trashed.”

         These actions were deliberate and intentional violations of F.Cr.R.P. 41, the

  statutory prohibitions in 18 U.S.C. §2234, and Mr. Holder’s constitutional right to be free

  from unreasonable governmental intrusion into his own home.

                                    RELIEF REQUESTED

         The affidavit and warrant, and the execution of the warrant, violated the Fourth

  Amendment, and exclusion is the appropriate remedy. Mr. Holder therefore asks that all

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  evidence obtained through the unconstitutional search and seizure be suppressed.

  Moreover, all evidence subsequently obtained by exploitation of the unconstitutional seized

  evidence (in particular, that retrieved from Mr. Holder’s phone) must be suppressed as

  well. Wong Sun v. United States, 371 U.S. 471 (1963).

  DATED: December 3, 2018.                   s/Marna M. Lake
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                                CERTIFICATE OF SERVICE

         I hereby certify that I have this 3rd day of December, 2018, electronically filed the
  foregoing with the Clerk of the Court using the ECF system which will send notification of
  such filing to the following e-mail addresses:

         Jeremy Chaffin
         Assistant United States Attorney
                                            s/Beth Gibbon




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